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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                   )      CASE NO. 4:16CR88-18
                                            )
                       PLAINTIFF,           )      JUDGE SARA LIOI
                                            )
vs.                                         )
                                            )      ORDER ON VIOLATION OF
                                            )      CONDITIONS OF PROBATION
                                            )
BRITTANY LITTLEJOHN,                        )
                                            )
                      DEFENDANT.            )


       A violation report was filed in this case on May 25, 2017. The Court referred this

matter to Magistrate Judge Kathleen B. Burke to conduct appropriate proceedings and to

file a report and recommendation. The magistrate judge reported that a probation

violation hearing was held on December 4, 2017, wherein the defendant admitted to the

following violation: Law Violation.

       The magistrate judge filed a report and recommendation on December 4, 2017, in

which the magistrate judge recommended that the Court find that the defendant has

violated the conditions of her probation.

       A final probation violation hearing was conducted on January 9, 2018. Defendant

Brittany Littlejohn was present and represented by Attorney David Jack. The United

States was represented by Assistant United States Attorney David Toepfer. United States

Probation Officer Ashley Frank was also present.

       No objections were filed to the report and recommendation of the magistrate
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judge. Upon review, the Court adopts the report and recommendation of the magistrate

judge and finds the defendant to be in violation of her terms and conditions of her

probation.

       IT IS ORDERED that, in addition to the terms and conditions previously

imposed, the defendant’s term of probation shall continue, with the same terms and

conditions of probation as previously ordered, and the following additional conditions:

             1) Defendant shall attend outpatient counseling every other week, as directed
                by her probation officer;

             2) Defendant shall report to Magistrate Judge Limbert in Youngstown,
                quarterly, as directed by her probation officer, to ensure she is in
                compliance with the terms and conditions of her probation.


       IT IS SO ORDERED.



Dated: January 9, 2018
                                                HONORABLE SARA LIOI
                                                UNITED STATES DISTRICT JUDGE




                                            2
